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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA

HDI GLOBAL SPECIALTY SE, f/k/a )
International Insurance Company of Hannover )
SE,                                         )
                                            )
               Plaintiff,                   ) Civil Action File No.: 4:20-cv-00103-CDL
                                            )
VS.                                         )
                                            )
PF HOLDINGS, LLC, SCHOOLHOUSE ROAD )
ESTATES, INC., RALSTON GA, LLC, PF )
RALSTON, LLC, PHILIP HADLEY, and )
JENNIFER GLAUBIUS,                          )
                                            )
               Defendants                   )

                       PLAINTIFF HDI GLOBAL SPECIALTY SE’S
                DISCLOSURE STATEMENT PURSUANT TO FED. R. CIV. P. 7.1

       Plaintiff HDI GLOBAL SPECIALTY SE, f/k/a International Insurance Company of

Hannover SE (“HDI”) submits this disclosure statement pursuant to Federal Rule of Civil

Procedure 7.1(a) and Local Rule 87.1. HDI states HDI is a German company jointly owned by

Hannover Re and HDI Global SE with 50.2% of its shares being held by HDI Global Specialty

Holding GmbH, a wholly owned subsidiary of HDI Global SE, and with 49.8% of shares being

held by Hannover Re. Hannover Re SE is a publicly traded German reinsurance company

headquartered in Hannover and majority-owned by Talanx AG (50.2%). HDI Global SE’s

parent company, Talanx AG, is traded on the German stock exchange. HDI does not have any

subsidiaries.
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      Respectfully submitted this 14th day of May, 2020.

                                                  FIELDS HOWELL LLP


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